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     In The United States Court of Federal Claims
                                              No. 10-434C

                                      (Filed: April 5, 2013)
                                           __________

  CRAIG J. URBAN,

                                 Plaintiff,

                          v.

  THE UNITED STATES,

                                 Defendant.


                                               __________

                                                ORDER
                                               __________

        The oral argument that was scheduled for April 12, 2013, on defendant’s pending motion
is hereby CANCELLED. Instead:

       1.       Consideration of defendant’s pending motion is hereby STAYED until a
                decision is rendered in Roberts v. United States, Nos. 2012-5113, 2012-
                5114 (Fed. Cir.); and

       2.       Defendant shall file a notification of a decision in that case within two
                weeks of the decision.

       IT IS SO ORDERED.



                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
